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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA, )
)
v. )
) Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR., )
)
)

Defendant.

DEFENDANT PAUL J. MANAFORT, JR.’S REPLY TO THE GOVERNMENT’S
MEMORANDUM IN OPPOSITION TO HIS MOTION TO SUPPRESS
EVIDENCE AND ALL FRUITS THEREOF RELATING TO THE SEARCH OF
THE STORAGE UNIT LOCATED IN ALEXANDRIA, VIRGINIA

Defendant Paul J. Manafort, Jr., by and through counsel, hereby submits this reply
to the Special Counsel’s memorandum in opposition to his motion to suppress evidence

and all fruits thereof relating to the search of the storage unit located in Alexandria,

virginia (Dkt. # 283).

I. The Special Counsel Misapplies the Concept of Common Authority

The parties agree that: {(l) common authority is a potential basis upon Which to ground
a third party’s consent to a Warrantless search; and (2) Um`ted Stales v. Matlock, 415 U.S.
164 (19'74), authoritatively defines common authority. The defendant and the Offlce of
Special Counsel part ways, however, regarding how Matlock is construed. The Special
Counsel Would have this Court follow Ninth Circuit precedent that no other federal
appellate court has adopted, Whereas the defendant rests on controlling legal precedent

from the District of Columbia.

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A. Mutual Use and Joint Access or Control Required in DC
Common authority means “mutual use of the property by persons generally having joint

access or control for most purposes.” Um'ted States v. Peyton, 745 F.3d 546, 552 (D.C.
Cir. 2014) (quoting Matlock, 4l5/ U.S. at l7l, n.7). This Circuit has held that the
government must prove the existence of both mutual use of the property and joint access
to or control of the property by the third party and the target of the search. Unz'ted States
v. Whitfield, 939 F.Zd lO7l, 1074 (D.C. Cir. l99l) (suppressing the fruits of the search and
finding that, even if the government bore its burden of proving joint access, it failed to
prove mutual use). Critically, Whitfzeld held that even if the third party’S ability (or legal
right) to access the property established the joint access or control element of common
authority, it did not establish the mutual use element Ia'. at 1074.

B. Ninth Circuit’s Assumption of Risk Formulation Is Inapposite

In the opposition, the Special Counsel avoids any discussion or analysis of
Matlock’s joint access/control and mutual use elements that are necessary to establish
common authority. Instead, the Special Counsel moves directly to asserting that l\/lr.
Manafort “assumed the risk that [the Employee] Would use the key he possessed to permit
outsiders (including the police) into the unit.” (Dkt. # 283 at 9) (internal quotation marks
omitted). ln relying on “assumption of risk” as sufficient to establish common authority,
the government expressly aligns itself With the Ninth Circuit’s decision in Unz`ted States v.
Kl`m, 105 F.3d 1579 (9th Cir. 1997). Kl`m is uncontroversial insofar as it points out that the
Supreme Court in Matlock referred to assumption of risk in its definition of common

authority:

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The authority which justifies the third-party consent . . . rests rather on

mutual use of the property by persons generally having joint access or

control for most purposes, so that it is reasonable to recognize that any of

the co-inhabitants has the right to permit the inspection in his own right and

that the others have assumed the risk that one of their number might permit

the common area to be searched.

Unired States v, Matlock, 415 U.S. 164, 171 n.7 (1974).

In Kim, however, the Ninth Circuit departs from the D.'C. Circuit and every other
federal appellate courtl by applying assumption of risk as an independent and sufficient
condition for a finding of common authority, instead of interpreting the language as merely
modifying or explaining the Supreme Court’s requirement of “mutual use of the property
by persons generally having joint access or control for most purposes.” Id.

Apart from its anomalous reliance on assumption of risk, the Ninth Circuit’s
decision in Ki)n_a case involving contraband and not business records-is distinctly
unfavorable to the Government’s position Indeed, the Ninth Circuit affirms that

[c]ases subsequent to Matlock have emphasized that a consent-giver with

limited access to the searched property lacks actual authority to consent to

a search. . . . [A] consent-giver whose right of access is “narrowly

prescribed” would lack sufficient authority to consent to a search. The cases

upholding searches generally rely on the consent-giver’s unlimited access

to property to sustain the search.

Kz'm, 105 F.3d at 1582 (emphasis added). More importantly, the Ninth Circuit holds that

the third party’s lack of “unlimited access” to the storage unit “put[s] the case outside the

‘ joint access or control for most purposes’ test” established in Matlock. Id.

 

’ The Special Counsel points out that the Tenth Circuit followed the Ninth Circuit’s assumption-of-risk
analysis in United States v. Trotter, 483 F.3d 694 (lOth Cir. 2007). (Dkt. # 283 at 10). Only four months
later, however7 that appellate court disavowed Trotter’s adoption of assumption of risk as sufficient to
establish common authority. In Unz`ted States v. Cos, the Tenth Circuit dismissed the government’s
assumption-of-risk argument as merely “invoking a phrase from Matlock” and “not supported by the law of
this circuit.” 498 F.3d 1115, 1126 (10th Cir. 2007). The Tenth Circuit Court of Appeals further explained
that “When determining whether a third party has actual [common] authority to consent to the search of a
residence, we do not apply an independent “assumption of the risk” or “sufticient relationship to the
premises”test. Ia'. `

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The Special Counsel, however, asserts that the former DMP employee “had the
right and capability to gain access to the unit at any time without [Manafort’s] knowledge
or permission.” (Dkt. # 283 at 11) (internal quotation marks omitted). Legally, this is
incorrect because it conflates the right to enter the storage unit with the informant’s
physical capabilin to do so. /The former DMP employee’s possession of a key to the
storage unit gave him only the physical ability to enter the storage unit (unauthorized)
without Mr. Manafort’s permission_just as a hotel manager’s access key would give
him/her the ability to enter a guest’s room without permission That is, the informant’s
possession of the key did not also confer upon him the right to enter without permission,
just as the hotel manager’s possession of a guest room key does not confer upon him or her
the right and authority to consent to a search of a guest’s room. See, e.g,, United Sl‘ates v.
Toan Phuong Nghe, 925 F. Supp. 2d 1142, 1147 (W.D. Wash. 2013) (holding that it was
unreasonable for police officers to conduct a warrantless search of a hotel room despite the
fact that the hotel manager had consented to the search, because the manager did not have
apparent authority to consent to the search even though he had given the officers a key to
the hotel room). This distinction is why the Special Counsel must rely on Kim’s assumption
of risk formulation because the FBI Affidavit makes clear that the informant advised the
FBI Agent that he acted only with Mr. Manafort’s permission and direction. (See FBI Aff.
11 28, Dkt. # 257, Exhibit 1 at 11.). Further, there are no sworn allegations in the FBI
Affidavit that the former DMP employee ever had “mutual use” of the storage unit.
Accordingly, the informant lacked common authority over the storage unit and was

incapable of providing actual consent for its search.

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II. The Third-Party Lacked Apparent Authority to Consent to the Search

A person lacking common authority, but having apparent authority, may consent to
a search provided that the law enforcement officer reasonably believes that the person is
authorized to do so. United States v. Peyton, 745 F.3d 546, 552 (D.C. Cir. 2014) (“Such
‘apparent authority’ is sufficient to sustain a search” provided “that officers’ factual
determinations in such situations are reasonable.”). Perhaps recognizing the fatal flaw in
establishing common authority, the Special Counsel turns next to apparent authority;
however, there is no help to be found.

lt is essential to point out that “[i]t is the government’s burden to establish that a
third party had authority to consent to a search.” Whitjield, 939 F.2d at 1075 (quoting
Illinois v. Rodriguez, 497 U.S. 177, 181 (1990)). And the government cannot carry its
burden by referring to the facts as the agent understood them unless that agent had
sufficient facts at his disposal to draw a reasonably well-informed judgment as to the third
party’s authority to consent. In this jurisdiction,

[t]he burden cannot be met if agents, faced with an ambiguous situation,

nevertheless proceed without making further inquiry. If the agents do not

learn enough, if the circumstances make it unclear whether the property

about to be searched is subject to mutual use by the person giving consent,

then warrantless entry is unlawful without further inquiry. . . .
Id. (internal quotation marks omitted) (emphasis in original). See also Peyton, 745 F.3d at
554, n.2 (“Apparent authority does not exist where it is uncertain that the property is in fact
subject to mutual use. lt is this principle that makes Whitfzeld so important . . .
[A]mbiguity is enough to defeat apparent authority. . . .”).

In other words, if the agent does not adequately investigate the nature of the third

party’s authority, the agent cannot be justified in concluding that the third party had

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authority. The “facts available to the officer at the moment,” Rodriguez, 497 U.S. at 178
(quoting Terry v. Ohio, 392 U.S. l, 21-22 (1968)), include facts that the agent should have
uncovered Here, the FBI Agent knew that the third party acted only “as directed by
Manafort” (See FBI Aff. 11 28, Dkt. # 257, Exhibit 1 at 11). Accordingly, the FBI Agent
had a duty to take reasonable investigative steps to avoid any misunderstanding regarding
the former DMP employee’s authority to consent to the search. The Special Counsel has
presented no evidence, however, in the FBI Affidavit or elsewhere that the FBI Agent took
reasonable steps to investigate the nature of the third party’s authority.

To determine whether the informant could validly consent to the search of the
storage unit, the agent should have asked, among other things: whether the third party was
allowed to enter the storage unit without permission from Mr. Manafort; whether he was
authorized to store his own property in the unit and whether he ever did So (i.e., whether
he had mutual use of the facility); whether he was authorized to let others into the storage
unit; whether he and Mr. Manafort ever discussed the nature of the third party’s authority
with respect to the storage unit; why the informant’s name, and not Mr. Manafort’s, was
on the lease; who paid the monthly lease fees for the.storage unit; whether his duties
regarding the storage unit changed after he became an employee of Steam Mountain, LLCZ;
whether his employment duties, including moving files to the storage unit, changed when
he left DMP; and why the informant’s DMP email address as a contact point was still on
the lease.

ln Whitfield, the D.C. Circuit disapproved of the agents’ failure to ask just such

questions:

 

z The FBI Affidavit avers only that the duties that it describes pertained to 2015 when he worked for DMP.
(See FBI Aff 1128, Dkt. # 257, Exhibit 1 at 11).

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As a factual matter, the agents could not reasonably have believed Mrs.
Whitfield had authority to consent to this search. The agents simply did not
have enough information to make that judgment

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Whether She had “mutual use” of the room or the closet containing the
defendant’s clothing could not be determined from anything the agents
asked.

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The agents never asked Mrs. Whitfield whether she cleaned her son’s room,
visited with him there, stored any of her possessions in the room, watched
television there, or made use of the room at any time for any purpose.

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The government has not carried its burden in this case. The agents’

superficial and cursory questioning of Mrs. Whitfield did not disclose

sufficient information to support a reasonable belief that she had the
authority to permit this search. The agents could not infer such authority
merely from her ownership of the house.

939 F.Zd at 1074-75 (citations omitted).

In this case, the agent overstepped the confines of the Fourth Amendment in his
initial warrantless search, and any reliance by the government on the concept of apparent
authority is not supported by the FBI Affidavit Although the former DMP employee
retained a key to a storage unit that contained DMP’s property and business papers, he was
no longer a DMP employee, per the government’s own FBI Affidavit. Again, the FBI
Agent was specifically told by the informant that he was permitted to enter the premises
only at Mr. Manafort'S direction (See FBI Aff. 11 28, Dkt. # 257, Exhibit 1 at 11). The
fact that the FBI Agent did not ask the former DMP employee reasonable follow-up
questions and include that information for the magistrate judge to review in the subsequent

application for a search warrant, speaks volumes For these reasons, the Court should

conclude that the informant did not have apparent authority to allow the FBI Agent to

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conduct the warrantless initial search of the storage unit, which formed the basis for the
subsequent search warrant issued by the magistrate judge. All evidence, and the fruits

thereof, should therefore be suppressed

III. The Warrant Lacked Sufflcient Particularity

Attachment B to the Search Warrant authorizes the seizure of, among other items,
“[ a ]ny and all financial records” related to Mr. Manafort or any companies associated with
him. (See Search Warrant, Attachment B, ‘\l 1a., Dkt. # 257, Exhibit 2 (emphasis added)).
The Special Counsel’s Office argues in its opposition to the motion to suppress that this
language is sufficiently particularized, but upon a closer reading of the authorities cited by
the government, these cases provide no support because they are all readily distinguishable
from the case at bar.

Concerning United States v. Young, 260 F. Supp.3d 530 (E.D. Va. 2017), the
Special Counsel contends (in a parenthetical) that this is an example of a district court
approving a search warrant that sought “all records and documents” falling into eight
enumerated categories (Dkt. # 283 at 21). ln fact, the court in Young explained that the
categories restricted the phrase “all records and documents” and chastised the defendant
for characterizing the warrant as seeking all records and documents when it did not:
“Defendant makes similar claims regarding lack of particularity for the categories of
evidence which he misleadingly describes as a search for ‘all records and documents.’
Contrary to how defendant describes what the warrants authorized, the categories of
documents and records were carefully limited. . . .” Young, 260 F. Supp.3d at 549

(emphasis added). The Young court identified the limitations on the broader language

which, among other things, focused on particular individuals, terrorist groups, etc. Id.

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Here, the search Warrant actually contained a capacious category without restricting
categories: “[a]ny and all financial records” related to Mr. Manafort or any companies
associated with him.

The government next cites United States v. Kuc, 737 F.3d 129 (1st Cir. 2013), for
the proposition that the Warrant “supp[lied] enough information to guide and control the
executing agent’s judgment in selecting where to search and what to seize.” (Dkt. # 283 at
21). But the Kuc warrant tied the broad language contained in the first clause to more
specific search constraints set forth in the second clause. Kuc, 737 F.2d at 133. Although
the warrant here also begins with a broad clause calling for records relating to various
federal violations,3 there is no similar limiting language in the next clause.

The Special Counsel also references United States v. Dale: “It is sufficient if the
warrant signed by the judicial officer is particular enough if read with reasonable effort by
the officer executing the warrant.” 991 F.2d 819, 846 (D.C. Cir. 1993). This is true as far
as it goes, but the search warrant in Dale-unlike the warrant issued here-was “limited to
those [records] that relate to the period June 1, 1984 through the present.” Id. (internal
quotation marks omitted). The lack of any temporal limitation is crucial, as the defense
has argued in the instant motion, because the warrant’s bounds cannot be discerned with

reasonable effort by the executing agent.4

 

3 Attachment B to the warrant at issue begins, “Records relating to violations of 31 U.S.C. §§ 5314, 5322(a)
(Failure to File a Report of Foreign Bank and Financial Accounts), 22 U.S.C. § 618 (Foreign Agent
Registration Act), and 26 U.S.C. § 7206(a) [sic] (Filing a False Tax Return), including: a. Any and all
financial records for Paul Manafort, Richard Gates or companies associated with Paul Manafort or Richard
Gates, including but not limited to records relating to any foreign financial accounts . . .” (See Search
Warrant, Attachment B, Dkt. # 257, Exhibit 2).

4 In fact, the Dale court stated that the date limitation by itself was not enough to save the warrant:

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Finally, the Government invokes United States v. Maxwell’s holding that “a
warrant’s reference to a particular statute may in certain circumstances limit the scope of
the warrant sufficiently to satisfy the particularity requirement.” 920 F.2d 1028, 1033
(D.C. Cir. 1990). However, the full context of this quotation (underlined for clarity) is as
follows:

Although a warrant’s reference to a particular statute may in certain

circumstances limit the scope of the Warrant sufficiently to satisfy the

particularity requirement, it will not do so where, as here, the warrant

authorizes seizure of all records and where, as here, the reference is to a

' broad federal statute, such as the federal wire fraud statute.
]d. (internal citations omitted) (emphasis supplied). In addition to holding that reference
to a broad federal criminal statute will not save a warrant, the court re-affirms that a
supporting affidavit cannot save a warrant absent incorporation Id. at 1031 (“The

incorporation issue is crucial here because . . . we believe that the warrant in this case was

fatally overbroad if the supporting affidavit is unavailable to limit the warrant’s scope.”).

IV. There Was Sufficient Information Available to Identify Temporal Limits
In defense of the search warrant’s failure to place any time limits on the items to be
seized, the Special Counsel argues that relevant time periods “could not have been known

to the Government.” (Dkt. # 283 at 24 (quoting United States v. Shilling, 826 F.2d 1365,

 

The Warrant’s explicit authorization to the agents to seize “business records including,
but not limited to” those specifically identified subjected essentially all of ADM’s records
dated after June 1, 1984 to seizure and therefore the warrant, by itself, was not sufficiently
particular. However, we concur in the district court’s view that incorporation of Agent
Shintani’s affidavit into the warrant provided a sufficient limitation on the government’s
search.

Dale, 991 F.2d at 846 (internal citations omitted). Rather, the D.C. Circuit upheld the search warrant against

the particularity challenge only because the agent’s affidavit was incorporated into the warrant. Id. Of`
course, the search warrant in this case failed to incorporate the agent’s affidavit

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1369 (4th Cir. 1987)). Of course, the Government must have known the time periods at
issue because it acknowledged that it had been investigating Mr. Manafort since 201 4,
three years before this search took place. lt strains credulity for the Special Counsel to
contend that, after three years of investigation, the years at issue “could not have been

known.”

V. No Good Faith Reliance on the Warrant

As discussed above, a person with apparent authority may authorize a search,
provided that the law enforcement officer reasonably believes that the third/party is
authorized to do so. Once the FBI Agent learned that the former DMP employee had no
right to enter the storage unit without Mr. Manafort’s direction, however, the FBI Agent
could not have reasonably believed that the informant had authority to consent to the
warrantless search Because the FBl Agent’s purported belief in the validity of the former
DMP employee’s consent was unreasonable, he cannot have reasonably relied on a
subsequently obtained search warrant that he knew was based on an earlier warrantless
search founded on invalid consent.

To avoid suppression of the fruits of an unlawful and invalid search, the
Government must prove that “an officer acting with objective good faith has obtained a
search warrant from a judge or magistrate and acted within its scope,” even though the
search warrant might later be found invalid. United States v. Leon, 468 U.S. 897, 920
(1984). Apparently concerned about the validity of the FBl Agent’s warrantless search,
the Special Counsel takes pains to discuss Leon and its exceptions (Dkt. # 283 at 25-28).
Leon does not provide the protection that the Special Counsel seeks, however The FBI

Agent cannot have acted in objective good faith in securing consent from a person who

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lacked actual or apparent authority. “Leon’s good-faith exception applies only narrowly,
and ordinarily only where an officer relies, in an objectively reasonable manner, on a
mistake made by someone other than the ojj'icer.” United States v. Herrera, 444 F.3d
1238, 1249 (10th Cir. 2006) (emphasis added). “[B]ecause Leon rests upon the notion that
the exclusionary rule is not implicated where there is no police misconduct to deter, that
case does not allow law enforcement authorities to rely on an error of their own making.”
Wayne R. LaFave, 1 Search & Seizure § 1.3(f) (5th ed.). lt naturally follows that when an
agent acts on consent in the absence of even apparent authority, Leon is inapplicable:
Here, as the district court recognized, the officers’ initial entry into Mr.
Cos’s apartment was based neither on a facially valid warrant nor on a
mistake made by someone other than the officers. lnstead, the officers
proceeded into the apartment because of their mistaken belief that Ms.
Ricker had the authority to consent In such circumstances, the good faith
exception to the exclusionary rule is inapplicable
United States v. Cos, 498 F.3d 1115, 1132 (10th Cir. 2007).

The Special Counsel argues that even if the warrantless search was illegal, it did
not taint the later search warrant to justify the suppression of evidence. This is
demonstrably false. Without the government’s warrantless entry into the storage unit and
recordation of the materials observed by the FBI Agent which was subsequently described
in the FBI affidavit, the magistrate judge would have been left with bare assertions from
an informant whose reliability and current basis for knowledge (as a former DMP

employee) had not been established, as required See Illinois v. Gates, 462 U.S. 213, 230

(1983). Suppression, therefore, is the appropriate remedy.

VI. Severance is Unavailable to Save the Warrant
Finally, in the portion of its opposition discussing the search warrant’s lack of

temporal limitation, the government contends that “any suppression remedy would be

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limited to evidence seized under the portion of the warrant that is overbroad, which would
at most be records that predate 2005.” (Dkt. # 283 at 28-29). The Special Counsel
generously posits that the defendant’s redress “is simply to excise the years for which there
was no probable cause.” Id. at 29-30. The flaw with this purported “cure” is that the
absence of a temporal limitation is not a probable cause problem; it is a particularity
problem, and the suggested severance does not remedy it.5

Dated: May 4, 2018 Respectfully submitted,

/s/
Kevin M. Downing
(D.C. Bar No. 1013984)
Law Office of Kevin l\/l. Downing
601 New Jersey Avenue NW
Suite 620
Washington, DC 20001
(202) 754-1992
kevindowning@kdowninglaw.com

/s/
Thomas E. Zehnle
(D.C. Bar No. 415556)
Law Office of Thomas E. Zehnle
601 New Jersey Avenue NW
Suite 620
Washington, DC 20001
(202) 368-4668
tezehnle@gmail.com

 

5 The Special Counsel makes the same error when it cites United States v. Cohan, 628 F. Supp. 2d 355, 364
n. 4 (E.D.N.Y. 2009), for the proposition that, in determining whether an affidavit established probable cause,
the trial court may consult the affidavit even if it was not incorporated into the warrant This is a non sequitur.
Of course, the trial court must consult the affidavit to decide whether that affidavit established probable cause.
The affidavit is of no moment, however, when a court is reviewing the warrant for particularity The one
exception is when the affidavit is made a part of the warrant. See United States v. Grinith, 867 F.3d 1265
(D.C. Cir. 2017). The Government does not dispute that the search warrant failed to incorporate the affidavit

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